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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                  CASE NO. 1:19-CV-22601-DPG

  ROBERTO ORTIZ,

                 Plaintiff,

  v.

  EXPERIAN INFORMATION SOLUTIONS,
  INC., TRANSUNION LLC, and AMERICAN
  HONDA FINANCE CORPORATION,

                 Defendants.


                   UNOPPOSED MOTION FOR EXTENSION OF
              TIME FOR DEFENDANT TRANS UNION LLC TO FILE ITS
          ANSWER OR OTHERWISE RESPOND TO PLAINTIFF’S COMPLAINT

         Defendant Trans Union LLC (“Trans Union”), one of the Defendants herein, by and

  through its attorney of record, pursuant to Fed. R. Civ. P. 6(b)(1), files its Unopposed Motion for

  Extension of Time to File Its Answer or Otherwise Respond to Plaintiff’s Complaint, and would

  respectfully show the Court as follows:

         1.      Trans Union was served with Plaintiff’s Complaint on July 17, 2019, and its

  response to the Complaint is due on August 7, 2019.

         2.      Trans Union’s counsel continues to review the allegations of the Complaint and

  requires additional time to respond to the same in a meaningful fashion.

         3.      Trans Union’s time to plead in response to the Complaint has not yet expired.

         4.      This request for an extension of time is made with the consent of Plaintiff, is not

  made for any improper purpose, and will not prejudice the orderly administration of this matter.

         5.      No party would be prejudiced by the extension.
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         6.      Trans Union does not request oral argument on the Motion.

         7.      No other extensions have been requested as to this specific deadline and Trans

  Union does not anticipate this extension will affect scheduling of this case.

                       CERTIFICATE OF COMPLIANCE WITH L.R. 7.1

         8.      Prior to the Defendant’s deadline to respond to Plaintiff’s Complaint, on July 31,

  2019, regional counsel for Trans Union emailed Plaintiff’s counsel regarding an extension, and

  Plaintiff’s counsel agreed to give Trans Union an extension of time in which to respond to the

  Complaint up to and including September 6, 2019.

         WHEREFORE, Defendant Trans Union, by counsel, hereby requests that the Court enter

  an Order (1) granting the Unopposed Motion for an Extension of Time; (2) providing Trans

  Union with an extension until September 6, 2019, to file its responsive pleadings to the

  Complaint; and (3) awarding Trans Union such further relief as the Court deems appropriate.

                                                Respectfully submitted,


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                                                COUNSEL FOR TRANS UNION LLC




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on August 7, 2019, I electronically filed the foregoing with the Clerk

  of the Court using the CM/ECF. I also certify that the foregoing document is being served this

  day on all counsel via transmission of Notices of Electronic Filing generated by CM/ECF.

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                                               /s/ Andrew G. Tuttle
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